JS 44 (Rev. 04/21)                                                               CIVIL COVER SHEET
The JS 44 civil cover sheetCase        2:22-cv-01527-DAD-AC
                             and the information contained herein neither replaceDocument        1-1
                                                                                 nor supplement the filing Filed    08/31/22
                                                                                                           and service of pleadings orPage     1 of
                                                                                                                                      other papers     2
                                                                                                                                                   as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                                              DEFENDANTS
       E.L., a minor, by and through her general guardian,                                                                     LIEUTENANT JERRY FERNANDEZ; DETECTIVE JACOB
       JESSICA LONG; JESSICA LONG, an individual                                                                               DUNCAN; DETECTIVE JEREMY ASHBEE, DOES 1-10
   (b) County of Residence of First Listed Plaintiff Shasta                                                                    County of Residence of First Listed Defendant                         Shasta
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                         (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                               NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                             THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                                                   Attorneys (If Known)

         Advancing Law for Animals                                                                                             unknown
         407 N. PCH. #267 Redondo Bch, 90277, (202)996-8389
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                         (For Diversity Cases Only)                                                  and One Box for Defendant)
  1    U.S. Government               ✖ 3    Federal Question                                                                                      PTF                     DEF                                          PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                                        Citizen of This State            1                       1       Incorporated or Principal Place         4     4
                                                                                                                                                                                      of Business In This State

  2    U.S. Government                 4    Diversity                                                              Citizen of Another State                      2             2    Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                                                           of Business In Another State

                                                                                                                   Citizen or Subject of a                       3             3    Foreign Nation                             6         6
                                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                               Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                   TORTS                                            FORFEITURE/PENALTY                                    BANKRUPTCY                        OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                         PERSONAL INJURY                           625 Drug Related Seizure                        422 Appeal 28 USC 158                375 False Claims Act
  120 Marine                         310 Airplane                           365 Personal Injury -                          of Property 21 USC 881                      423 Withdrawal                       376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                       Product Liability                      690 Other                                           28 USC 157                           3729(a))
  140 Negotiable Instrument               Liability                         367 Health Care/                                                                             INTELLECTUAL                       400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                       Pharmaceutical                                                                         PROPERTY RIGHTS                      410 Antitrust
      & Enforcement of Judgment           Slander                               Personal Injury                                                                        820 Copyrights                       430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’                     Product Liability                                                                      830 Patent                           450 Commerce
  152 Recovery of Defaulted               Liability                         368 Asbestos Personal                                                                      835 Patent - Abbreviated             460 Deportation
       Student Loans                 340 Marine                                 Injury Product                                                                             New Drug Application             470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                         Liability                                                                              840 Trademark                            Corrupt Organizations
  153 Recovery of Overpayment             Liability                        PERSONAL PROPERTY                                    LABOR                                  880 Defend Trade Secrets             480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle                      370 Other Fraud                            710 Fair Labor Standards                            Act of 2016                          (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle                      371 Truth in Lending                           Act                                                                              485 Telephone Consumer
  190 Other Contract                     Product Liability                  380 Other Personal                         720 Labor/Management                            SOCIAL SECURITY                          Protection Act
  195 Contract Product Liability     360 Other Personal                         Property Damage                            Relations                                   861 HIA (1395ff)                     490 Cable/Sat TV
  196 Franchise                          Injury                             385 Property Damage                        740 Railway Labor Act                           862 Black Lung (923)                 850 Securities/Commodities/
                                     362 Personal Injury -                      Product Liability                      751 Family and Medical                          863 DIWC/DIWW (405(g))                   Exchange
                                         Medical Malpractice                                                               Leave Act                                   864 SSID Title XVI                   890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                        PRISONER PETITIONS                          790 Other Labor Litigation                      865 RSI (405(g))                     891 Agricultural Acts
  210 Land Condemnation            ✖ 440 Other Civil Rights                 Habeas Corpus:                             791 Employee Retirement                                                              893 Environmental Matters
  220 Foreclosure                    441 Voting                             463 Alien Detainee                             Income Security Act                        FEDERAL TAX SUITS                     895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                         510 Motions to Vacate                                                                     870 Taxes (U.S. Plaintiff                 Act
  240 Torts to Land                  443 Housing/                               Sentence                                                                                   or Defendant)                    896 Arbitration
  245 Tort Product Liability             Accommodations                     530 General                                                                               871 IRS—Third Party                   899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -             535 Death Penalty                              IMMIGRATION                                     26 USC 7609                          Act/Review or Appeal of
                                         Employment                         Other:                                     462 Naturalization Application                                                           Agency Decision
                                     446 Amer. w/Disabilities -             540 Mandamus & Other                       465 Other Immigration                                                                950 Constitutionality of
                                         Other                              550 Civil Rights                               Actions                                                                              State Statutes
                                     448 Education                          555 Prison Condition
                                                                            560 Civil Detainee -
                                                                                Conditions of
                                                                                Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖1     Original
       Proceeding
                         2 Removed from
                           State Court
                                                                 3      Remanded from
                                                                        Appellate Court
                                                                                                              4 Reinstated or
                                                                                                                Reopened
                                                                                                                                                 5 Transferred from
                                                                                                                                                  6 Multidistrict
                                                                                                                                                   Another District
                                                                                                                                                      Litigation -
                                                                                                                                                                                                                       8 Multidistrict
                                                                                                                                                                                                                         Litigation -
                                                                                                                                                   (specify)
                                                                                                                                                      Transfer                                                           Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       42 U.S.C. § 1983
VI. CAUSE OF ACTION                    Brief description of cause:
                                       Defendant Sherriffs seized plaintiffs' pet in violation of 4th and 14th amendment, transferred to private 3rd party for slaughter with no notice or hearing

VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                                           DEMAND $                                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                  TBD by Jury                                              JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                             JUDGE                                                                                         DOCKET NUMBER
DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD
August 30, 2022                                                              /S/ Ryan Gordon
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                             APPLYING IFP                                                  JUDGE                                         MAG. JUDGE
JS 44 Reverse (Rev. 04/21)

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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statute.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
